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 6
 7
                                UNITED STATES DISTRICT COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10                                             Case No.:
     KENNETH DAVIDSON,
11                Plaintiff,                   COMPLAINT FOR INJUNCTIVE
                                               RELIEF AND DAMAGES FOR DENIAL
12         vs.                                 OF CIVIL RIGHTS OF A DISABLED
                                               PERSON IN VIOLATIONS OF
13
                                               1. AMERICANS WITH DISABILITIES;
14
     SOON NAM CHOI D/B/A FLAME                 2. CALIFORNIA’S UNRUH CIVIL
15   BROILER; IHKR, LP; and DOES 1 to 10,      RIGHTS ACT;
16                Defendants.                  3. CALIFORNIA’S DISABLED
                                               PERSONS ACT;
17
                                               4. CALIFORNIA HEALTH & SAFETY
18                                             CODE;
19                                             5. NEGLIGENCE
20
21
22         Plaintiff KENNETH DAVIDSON (“Plaintiff”) complains of Defendants SOON

23   NAM CHOI D/B/A FLAME BROILER; IHKR, LP; and DOES 1 to 10 (“Defendants”)

24   and alleges as follows:

25   //

26   //

27   //

28   //



                                        COMPLAINT - 1
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 1                                             PARTIES
 2           1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3   diagnosed with paraplegia secondary to MVA damaging T7 and is substantially limited in
 4   his ability to walk. Plaintiff requires the use of a wheelchair at all times when traveling
 5   in public.
 6           2.   Defendants are, or were at the time of the incident, the real property owners,
 7   business operators, lessors and/or lessees of the real property for FLAME BROILER
 8   (“Business”) located at or about 1151 N. Euclid St., Anaheim, California.
 9           3.   The true names and capacities, whether individual, corporate, associate or
10   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
11   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
12   Court to amend this Complaint when the true names and capacities have been
13   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
14   fictitiously named Defendants are responsible in some manner, and therefore, liable to
15   Plaintiff for the acts herein alleged.
16           4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
17   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
18   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
19   the things alleged herein was acting with the knowledge and consent of the other
20   Defendants and within the course and scope of such agency or employment relationship.
21           5.   Whenever and wherever reference is made in this Complaint to any act or
22   failure to act by a defendant or Defendants, such allegations and references shall also be
23   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
24   and severally.
25                                 JURISDICTION AND VENUE
26           6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
27   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
28   seq.)



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 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, Orange County,
 8   California, and that all actions complained of herein take place in this district.
 9                                  FACTUAL ALLEGATIONS
10         10.    On or about March 6, 2020, Plaintiff went to the Business. On or about
11   April 7, 2020, Plaintiff went to the Business again.
12         11.    The Business is a restaurant store business establishment, which is open to
13   the public, is a place of public accommodation and affects commerce through its
14   operation.
15         12.    While attempting to enter the Business during each visit, Plaintiff personally
16   encountered a number of barriers that interfered with his ability to use and enjoy the
17   goods, services, privileges, and accommodations offered at the Business.
18         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
19   included, but were not limited to, the following:
20                a.     Defendant failed to maintain the parking space designated for persons
21                       with disabilities to comply with the federal and state standards.
22                       Defendants failed to provide the access aisles with level surface
23                       slopes.
24                b.     Defendant failed to maintain the parking space designated for persons
25                       with disabilities to comply with the federal and state standards.
26                       Defendants failed to provide a proper ramp for the persons with
27                       disabilities.
28




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 1         14.    These barriers and conditions denied Plaintiff the full and equal access to the
 2   Business and caused him difficulty and frustration. The Business is conveniently located.
 3   Plaintiff wishes to return and patronize the Business, however, Plaintiff is deterred from
 4   visiting the Business because his knowledge of these violations prevents him from
 5   returning until the barriers are removed.
 6         15.    Based on the violations, Plaintiff alleges, on information and belief, that
 7   there are additional barriers to accessibility at the Business after further site inspection.
 8   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 9   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
10         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
11   knew that particular barriers render the Business inaccessible, violate state and federal
12   law, and interfere with access for the physically disabled.
13         17.    At all relevant times, Defendants had and still have control and dominion
14   over the conditions at this location and had and still have the financial resources to
15   remove these barriers without much difficulty or expenses to make the Business
16   accessible to the physically disabled in compliance with ADDAG and Title 24
17   regulations. Defendants have not removed such barriers and have not modified the
18   Business to conform to accessibility regulations.
19                                   FIRST CAUSE OF ACTION
20       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
21         18.    Plaintiff incorporates by reference each of the allegations in all prior
22   paragraphs in this complaint.
23         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
24   shall be discriminated against on the basis of disability in the full and equal enjoyment of
25   the goods, services, facilities, privileges, advantages, or accommodations of any place of
26   public accommodation by any person who owns, leases, or leases to, or operates a place
27   of public accommodation. See 42 U.S.C. § 12182(a).
28         20.    Discrimination, inter alia, includes:



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 1              a.    A failure to make reasonable modification in policies, practices, or
 2                    procedures, when such modifications are necessary to afford such
 3                    goods, services, facilities, privileges, advantages, or accommodations
 4                    to individuals with disabilities, unless the entity can demonstrate that
 5                    making such modifications would fundamentally alter the nature of
 6                    such goods, services, facilities, privileges, advantages, or
 7                    accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 8              b.    A failure to take such steps as may be necessary to ensure that no
 9                    individual with a disability is excluded, denied services, segregated or
10                    otherwise treated differently than other individuals because of the
11                    absence of auxiliary aids and services, unless the entity can
12                    demonstrate that taking such steps would fundamentally alter the
13                    nature of the good, service, facility, privilege, advantage, or
14                    accommodation being offered or would result in an undue burden. 42
15                    U.S.C. § 12182(b)(2)(A)(iii).
16              c.    A failure to remove architectural barriers, and communication barriers
17                    that are structural in nature, in existing facilities, and transportation
18                    barriers in existing vehicles and rail passenger cars used by an
19                    establishment for transporting individuals (not including barriers that
20                    can only be removed through the retrofitting of vehicles or rail
21                    passenger cars by the installation of a hydraulic or other lift), where
22                    such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
23              d.    A failure to make alterations in such a manner that, to the maximum
24                    extent feasible, the altered portions of the facility are readily
25                    accessible to and usable by individuals with disabilities, including
26                    individuals who use wheelchairs or to ensure that, to the maximum
27                    extent feasible, the path of travel to the altered area and the
28                    bathrooms, telephones, and drinking fountains serving the altered



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 1                       area, are readily accessible to and usable by individuals with
 2                       disabilities where such alterations to the path or travel or the
 3                       bathrooms, telephones, and drinking fountains serving the altered
 4                       area are not disproportionate to the overall alterations in terms of cost
 5                       and scope. 42 U.S.C. § 12183(a)(2).
 6         21.    Where parking spaces are provided, accessible parking spaces shall be
 7   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 8   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 9   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
10   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
11   be van parking space. 2010 ADA Standards § 208.2.4.
12         22.    Under the 1991 Standards, parking spaces and access aisles must be level
13   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
14   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
15   shall be part of an accessible route to the building or facility entrance and shall comply
16   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
17   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
18   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
19   directions. 1991 Standards § 4.6.3.
20         23.    Here, the access aisles are not level with the parking spaces. Under the 2010
21   Standards, access aisles shall be at the same level as the parking spaces they serve.
22   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
23   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
24   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted. Moreover,
25   there were large cracks and broken concrete that created an uneven surface.
26         24.    The cross slope of ramp surfaces shall be no greater than 1:50. Ramp
27   surfaces shall comply with 4.5. 1991 Standards § 4.8.6. Ramps and landings with drop-
28   offs shall have curbs, walls, railings, or projecting surfaces that prevent people from



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 1   slipping off the ramp. Curbs shall be a minimum of 2 in (50 mm) high. 1991 Standards §
 2   4.8.7. Outdoor ramps and their approaches shall be designed so that water will not
 3   accumulate on walking surfaces. 1991 Standards § 4.8.8. Ground and floor surfaces
 4   along accessible routes and in accessible rooms and spaces including floors, walks,
 5   ramps, stairs, and curb ramps, shall be stable, firm, slip-resistant, and shall comply with
 6   4.5. 1991 Standards § 4.5.1.
 7         25.      Here, Defendants failed to provide a compliant ramp for the access aisle.
 8         26.      A public accommodation shall maintain in operable working condition those
 9   features of facilities and equipment that are required to be readily accessible to and usable
10   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
11         27.      By failing to maintain the facility to be readily accessible and usable by
12   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
13   regulations.
14         28.      The Business has denied and continues to deny full and equal access to
15   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
16   discriminated against due to the lack of accessible facilities, and therefore, seeks
17   injunctive relief to alter facilities to make such facilities readily accessible to and usable
18   by individuals with disabilities.
19                                 SECOND CAUSE OF ACTION
20                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
21         29.      Plaintiff incorporates by reference each of the allegations in all prior
22   paragraphs in this complaint.
23         30.      California Civil Code § 51 states, “All persons within the jurisdiction of this
24   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
25   national origin, disability, medical condition, genetic information, marital status, sexual
26   orientation, citizenship, primary language, or immigration status are entitled to the full
27   and equal accommodations, advantages, facilities, privileges, or services in all business
28   establishments of every kind whatsoever.”



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 1         31.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 2   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 3   for each and every offense for the actual damages, and any amount that may be
 4   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 5   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 6   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 7   person denied the rights provided in Section 51, 51.5, or 51.6.
 8         32.    California Civil Code § 51(f) specifies, “a violation of the right of any
 9   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
10   shall also constitute a violation of this section.”
11         33.    The actions and omissions of Defendants alleged herein constitute a denial
12   of full and equal accommodation, advantages, facilities, privileges, or services by
13   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
14   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
15   51 and 52.
16         34.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
17   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
18   damages as specified in California Civil Code §55.56(a)-(c).
19                                  THIRD CAUSE OF ACTION
20                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
21         35.    Plaintiff incorporates by reference each of the allegations in all prior
22   paragraphs in this complaint.
23         36.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
24   entitled to full and equal access, as other members of the general public, to
25   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
26   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
27   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
28   of transportation (whether private, public, franchised, licensed, contracted, or otherwise



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 1   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 2   places of public accommodations, amusement, or resort, and other places in which the
 3   general public is invited, subject only to the conditions and limitations established by
 4   law, or state or federal regulation, and applicable alike to all persons.
 5         37.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 6   corporation who denies or interferes with admittance to or enjoyment of public facilities
 7   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 8   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 9   the actual damages, and any amount as may be determined by a jury, or a court sitting
10   without a jury, up to a maximum of three times the amount of actual damages but in no
11   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
12   determined by the court in addition thereto, suffered by any person denied the rights
13   provided in Section 54, 54.1, and 54.2.
14         38.    California Civil Code § 54(d) specifies, “a violation of the right of an
15   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
16   constitute a violation of this section, and nothing in this section shall be construed to limit
17   the access of any person in violation of that act.
18         39.    The actions and omissions of Defendants alleged herein constitute a denial
19   of full and equal accommodation, advantages, and facilities by physically disabled
20   persons within the meaning of California Civil Code § 54. Defendants have
21   discriminated against Plaintiff in violation of California Civil Code § 54.
22         40.    The violations of the California Disabled Persons Act caused Plaintiff to
23   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
24   statutory damages as specified in California Civil Code §55.56(a)-(c).
25                                FOURTH CAUSE OF ACTION
26                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
27         41.    Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



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 1           42.    Plaintiff and other similar physically disabled persons who require the use of
 2    a wheelchair are unable to use public facilities on a “full and equal” basis unless each
 3    such facility is in compliance with the provisions of California Health & Safety Code §
 4    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 5    provisions of California Health & Safety Code § 19955 et seq.
 6           43.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 7    that public accommodations or facilities constructed in this state with private funds
 8    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 9    Title 1 of the Government Code. The code relating to such public accommodations also
10    require that “when sanitary facilities are made available for the public, clients, or
11    employees in these stations, centers, or buildings, they shall be made available for
12    persons with disabilities.
13           44.    Title II of the ADA holds as a “general rule” that no individual shall be
14    discriminated against on the basis of disability in the full and equal enjoyment of goods
15    (or use), services, facilities, privileges, and accommodations offered by any person who
16    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
17    Further, each and every violation of the ADA also constitutes a separate and distinct
18    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
19    award of damages and injunctive relief pursuant to California law, including but not
20    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
21                                    FIFTH CAUSE OF ACTION
22                                          NEGLIGENCE
23           45.    Plaintiff incorporates by reference each of the allegations in all prior
24    paragraphs in this complaint.
25           46.    Defendants have a general duty and a duty under the ADA, Unruh Civil
26    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
27    to the Plaintiff.
28




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 1          47.    Defendants breached their duty of care by violating the provisions of ADA,
 2    Unruh Civil Rights Act and California Disabled Persons Act.
 3          48.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 4    has suffered damages.
 5                                     PRAYER FOR RELIEF
 6          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 7    Defendants as follows:
 8          1.     For preliminary and permanent injunction directing Defendants to comply
 9    with the Americans with Disability Act and the Unruh Civil Rights Act;
10          2.     Award of all appropriate damages, including but not limited to statutory
11    damages, general damages and treble damages in amounts, according to proof;
12          3.     Award of all reasonable restitution for Defendants’ unfair competition
13    practices;
14          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
15    action;
16          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
17          6.     Such other and further relief as the Court deems just and proper.
18                               DEMAND FOR TRIAL BY JURY
19          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
20    demands a trial by jury on all issues so triable.
21
22    Dated: August 7, 2020            SO. CAL. EQUAL ACCESS GROUP
23
24
25                                            By:   _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
26                                            Attorneys for Plaintiff
27
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